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                        EXHIBIT 12
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 GALLERIA 2425 OWNER, LLC,                            )
                                                      )      Case No. 23-34815
                          Debtor.                     )
                                                      )
                 NOTICE OF PROPOSED STALKING HORSE AGREEMENT
                                 [Re: ECF No. 188]

          Christopher R. Murray, the chapter 11 trustee in the above-captioned case (the “Trustee”),

hereby provides notice of the following:

          1.     On April 5, 2024, the Trustee filed the Chapter 11 Trustee’s Motion for Entry of an

Order: (I) Approving Procedures for the Sale of Property Free and Clear of All Liens, Claims and

Encumbrances; (II) Scheduling an Auction; (III) Authorizing Entry Into the Stalking Horse

Purchase Agreement;(IV) Approving Assumption And Assignment Procedures;(V) Approving

Form of Notice; and (VI) Granting Related Relief [ECF No. 188] (the “Bid Procedures Motion”).

          2.     Through the Bid Procedures Motion, the Trustee seeks the entry of an order

establishing procedures (the “Bid Procedures”) for the marketing and sale of the real property

located at 2425 West Loop South, Houston, TX 77027 (the “Property”).

          3.     The asset purchase agreement attached hereto as Exhibit A is the “Stalking Horse

Agreement” referenced in the Bid Procedures Motion.

          4.     For the avoidance of doubt, any sale of the Property by the Trustee, under the

Bidding Procedures or otherwise, will be pursuant to the further order of the U.S. Bankruptcy

Court for the Southern District of Texas (the “Court”). The Court has not approved either the

contemplated Bid Procedures or a sale of the Property pursuant to the Stalking Horse Agreement.
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       5.      A copy of the Bid Procedures Motion can be obtained from the Court’s CM/ECF

system at https://ecf.txsb.uscourts.gov/ or by contacting the undersigned counsel for the Trustee.


 Dated: April 10, 2024                          Respectfully submitted,

                                                SHANNON & LEE LLP

                                                /s/R. J. Shannon                             .
                                                Kyung S. Lee (TBA No. 12128400)
                                                R. J. Shannon (TBA No. 24108062)
                                                2100 Travis Street, STE 1525
                                                Houston, TX 77002
                                                Telephone: (713) 714-5770
                                                Email: klee@shannonleellp.com
                                                         rshannon@shannonleellp.com

                                                Counsel to the Chapter 11 Trustee


                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served by (a)
the Court’s CM/ECF system on all parties registered to receive such service on the date of filing
and (b) U.S.P.S. first class mail on the parties indicated on the attached service list within 24 hours
of the filing.

                                                       /s/ R. J. Shannon                .




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Label Matrix for local noticing              2425 WL, LLC                            CC2 TX, LLC
0541-4                                       2425 West Loop South 11th floor         c/o Howard Marc Spector
Case 23-34815                                Houston, TX 77027-4304                  Spector & Cox, PLLC
Southern District of Texas                                                           12770 Coit Road Suite 850
Houston                                                                              Dallas, TX 75251-1364
Wed Apr 10 20:17:35 CDT 2024
City of Houston                              Galleria 2425 Owner, LLC                (p)HARRIS COUNTY ATTORNEY’S OFFICE
Linebarger Goggan Blair & Sampson LLP        1001 West Loop South 700                P O BOX 2928
c/o Tara L. Grundemeier                      Houston, TX 77027-9084                  HOUSTON TX 77252-2928
PO Box 3064
Houston, TX 77253-3064

Houston Community College System             Houston ISD                             National Bank of Kuwait, S.A.K.P., New York
Linebarger Goggan Blair & Sampson LLP        Linebarger Goggan Blair & Sampson LLP
c/o Tara L. Grundemeier                      c/o Tara L. Grundemeier
PO Box 3064                                  PO Box 3064
Houston, TX 77253-3064                       Houston, TX 77253-3064

4                                            2425 WL, LLC                            2425 West Loop, LLC
United States Bankruptcy Court               13498 Pond Springs Rd.                  2000 Hughes Landing Blvd., Suite 815
PO Box 61010                                 Austin, TX 78729-4422                   The Woodlands, Texas 77380-4142
Houston, TX 77208-1010


ADT                                          Ali Choudhry                            Arin-Air, Inc.
PO Box 382109                                1001 West Loop South 700                5710 Brittmoore Rd. #13
Pittsburgh, PA 15251-8109                    Houston, TX 77027-9084                  Houston, TX 77041-5627



Ash Automated Control Systems, LLC           CC2 TX, LLC                             CFI Mechanical, Inc
PO Box 1113                                  14800 Landmark Blvd., Suite 400         6109 Brittmoore Rd
Fulshear, TX 77441-2013                      Dallas, TX 75254-7598                   Houston, TX 77041-5610



CNA Insurance Co                             Caz Creek Lending                       Cirro Electric
PO Box 74007619                              118 Vintage Park Blvd No. W             PO Box 60004
Chicago, IL 60674-7619                       Houston, TX 77070-4095                  Dallas, TX 75266



City of Houston                              City of Houston                         Comcast
PO Box 1560                                  c/o Tara L. Grundemeier                 PO Box 60533
Houston, TX 77251-1560                       Linebarger Goggan Blair & Sampson LLP   City of Industry, CA 91716-0533
                                             PO Box 3064
                                             Houston, TX 77253-3064

Datawatch Systems                            Environmental Coalition Inc             Ferguson Facilities Supplies
4520 East West Highway 200                   PO Box 1568                             PO Box 200184
Bethesda, MD 20814-3382                      Stafford, TX 77497-1568                 San Antonio, TX 78220-0184



Firetron                                     (p)FIRST INSURANCE FUNDING              Gulfstream Legal Group
PO Box 1604                                  450 SKOKIE BLVD SUITE 1000              1300 Texas St
Stafford, TX 77497-1604                      NORTHBROOK IL 60062-7917                Houston, TX 77002-3509
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H.N.B. Construction, LLC                     HNB Construction, LLC                   Harris County Tax Assessor
c/o Malcolm D. Dishongh                      521 Woodhaven                           PO Box 4622
PO Box 2347                                  Ingleside, TX 78362-4678                Houston, TX 77210-4622
Humble, TX 77347-2347


Hayward PLLC                                 Houston Community College System        Houston ISD
c/o Melissa S. Hayward                       c/o Tara L. Grundemeier                 c/o Tara L. Grundemeier
10501 N. Central Expy., Ste. 106             Linebarger Goggan Blair & Sampson LLP   Linebarger Goggan Blair & Sampson LLP
Dallas, TX 75231-2203                        PO Box 3064                             PO Box 3064
                                             Houston, TX 77253-3064                  Houston, TX 77253-3064

Jetall Companies, Inc                        Kings 111 Emergency Communications      Lexitas
1001 West Loop South Ste 700                 751 Canyon Drive, Suite 100             PO Box Box 734298 Dept 2012
Houston, TX 77027-9033                       Coppell, TX 75019-3857                  Dallas, TX 75373-4298



Lloyd E. Kelley                              Logix Fiber Networks                    MacGeorge Law Firm
2726 Bissonent Suite 240                     PO Box 734120                           2921 E 17th St Blgd D Suite 6
Houston, TX 77005-1352                       Dallas, TX 75373-4120                   Austin, TX 78702-1572



Mueller Water Treatment                      Naissance Galleria, LLC                 National Bank of Kuwait
1500 Sherwood Forest Dr.                     c/o Law Office of Nima Taherian         299 Park Ave. 17th Floor
Houston, TX 77043-3899                       701 N. Post Oak Rd. Ste 216             New York, NY 10171-0023
                                             Houston, TX 77024-3868


Nationwide Security                          Nichamoff Law Firm                      Rodney L. Drinnon
2425 W Loop S 300                            2444 Times Blvd 270                     2000 West Loop S, Ste. 1850,
Houston, TX 77027-4205                       Houston, TX 77005-3253                  Houston, Texas 77027-3744



TKE                                          U.S. Trustee’s Office                   US Retailers LLC d/b/a Cirro Energy
3100 Interstate North Cir SE 500             515 Rusk, Suite 3516                    Attention: Bankruptcy Department
Atlanta, GA 30339-2296                       Houston, Texas 77002-2604               PO Box 3606
                                                                                     Houston, TX 77253-3606


US Trustee                                   Waste Management                        Zindler Cleaning Service Co
Office of the US Trustee                     PO Box 660345                           2450 Fondren 113
515 Rusk Ave                                 Dallas, TX 75266-0345                   Houston, TX 77063-2314
Ste 3516
Houston, TX 77002-2604

Ali Choudhri                                 Christopher R Murray                    James Q. Pope
24256 West Loop South                        Jones Murray LLP                        The Pope Law Firm
11th Floor                                   602 Sawyer St                           6161 Savoy Drive
Houston, TX 77027                            Ste 400                                 Ste 1125
                                             Houston, TX 77007-7510                  Houston, TX 77036-3343

Reese W Baker                                Rodney Drinnon
Baker & Associates                           McCathern Houston
950 Echo Lane                                2000 W Loop S
Suite 300                                    Ste. 1850
Houston, TX 77024-2824                       Houston, TX 77027-3744
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Harris County, ATTN: Property Tax Division           First Insurance Funding                              (d)Harris County, et al
Harris County Attorney’s Office                      450 Skokie Blvd                                      PO Box 2928
P.O. Box 2928                                        Northbrook, IL 60062                                 Houston, TX 77252
Houston, TX 77252-2928 United States




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)2425 West Loop, LLC                               (u)Sonder USA Inc.                                   (d)Arin-Air, LLC
                                                                                                          5710 Brittmoore Rd. #13
                                                                                                          Houston, TX 77041-5627



(du)Sonder USA Inc.                                  (u)Jack Rose                                         End of Label Matrix
                                                                                                          Mailable recipients    58
                                                                                                          Bypassed recipients     5
                                                                                                          Total                  63
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                               EXHIBIT
                               EXHIBIT A
                                       A

              PROPOSED
              PROPOSED STALKING
                       STALKING HORSE
                                HORSE AGREEMENT
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                       ASSET
                       ASSET PURCHASE
                             PURCHASE AGREEMENT
                                      AGREEMENT

                         DATED
                         DATED AS
                               AS OF
                                  OF APRIL
                                     APRIL 10,
                                           10, 2024
                                               2024

                                    BETWEEN
                                    BETWEEN

Christopher
Christopher R.
            R. Murray,
               Murray, in
                       in his
                          his capacity
                              capacity as
                                        as the
                                           the duly
                                               duly appointed
                                                    appointed Chapter
                                                               Chapter 11
                                                                       11 Trustee
                                                                          Trustee of
                                                                                  of
                      Galleria
                      Galleria 2425
                                2425 Owner,
                                      Owner, LLC,
                                               LLC, as
                                                     as Seller
                                                        Seller

                                       AND
                                       AND

         National
         National Bank
                  Bank of
                       of Kuwait,
                          Kuwait, S.A.K.P.,
                                  S.A.K.P., New
                                            New York
                                                York Branch,
                                                     Branch, as
                                                             as Buyer
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                              ASSET PURCHASE AGREEMENT

         THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is made and entered into
as of April 10, 2024 (the “Effective Date”) by and between Christopher R. Murray in his capacity
as the duly appointed Chapter 11 Trustee of Galleria 2425 Owner, LLC, a Delaware limited
liability company (the “Seller” or the “Chapter 11 Trustee”) and National Bank of Kuwait,
S.A.K.P., New York Branch, or its designees or assignees (“NBK” or “Buyer” together with
Seller, the “Parties” and each a “Party”).

       A.      WHEREAS, on December 5, 20023 (the “Petition Date”), the Galleria 2425
Owner, LLC (the “Debtor”) filed a voluntary petition for under Chapter 11 of Title 11 of the
United States Code, 11 U.S.C. §§101, et seq. (“Bankruptcy Code”) in the United States
Bankruptcy Court for the Southern District of Texas, Houston Division (the “Bankruptcy
Court”), initiating Case No. 23-34815 (JPN) (the “Chapter 11 Case”).

      B.      WHEREAS, the Real Property and Personal Property are property of the
bankruptcy estate pursuant to 11 U.S.C. § 541 (the “Bankruptcy Estate”).

       C.     WHEREAS, on February 9, 2024, the Bankruptcy Court entered an order
appointing Christopher R. Murray as trustee of the Chapter 11 Case.

          D.   WHEREAS, the Chapter 11 Trustee is the sole representative of the Bankruptcy
Estate.

        E.      WHEREAS, after the Petition Date, the Chapter 11 Trustee sought authorization
from the Bankruptcy Court for approval of his entry into this Agreement and certain other matters
pertaining to the sale of the Real Property.

        F.     WHEREAS, notwithstanding any provisions herein to the contrary, Seller and
Buyer both acknowledge and agree that this Agreement is subject to the Bankruptcy Court’s final
authorization and approval, and upon such terms as the parties have agreed and as authorized by
the Bankruptcy Court, Seller desires to sell the Real Property, and Buyer desires to purchase the
Real Property and assume certain liabilities of the Bankruptcy Estate, in a sale pursuant to sections
105(a), 363, 1123 and/or 1129 of the Bankruptcy Code.

        NOW, THEREFORE, in consideration of the foregoing premises and the representations,
warranties, covenants and agreements contained herein and other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, the Parties hereby agree as follows:

                                          ARTICLE I
                                         DEFINITIONS

       1.      Terms and Incorporation of Definitions. All capitalized terms not otherwise
defined herein shall have the meanings ascribed to them in the Sale and Bid Procedures. Except as
otherwise specifically provided herein, the following terms shall have the meanings specified
below
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        2.     Affiliate(s) as to any Person means any Persons (x) directly or indirectly
controlling, controlled by or under common control with any of the foregoing or (y) as to which
any of the foregoing act as trustee or beneficiary. For purposes of this definition, “control” of a
person shall mean the power, direct or indirect, to direct or cause the management and policies of
such person, whether by ownership of voting securities, by contract or otherwise.

       3.      Assigned Contracts has the meaning set forth in Article II.

       4.      Auction has the meaning set forth in the Sale and Bid Procedures.

        5.     Bankruptcy Contingencies means the occurrence of each of the following: (a) the
Sale and Bid Procedures Order shall have become a Final Order, (b) the Sale Order shall become
a Final Order, and (c) the Confirmation Order shall become a Final Order.

       6.      Business Day means any day, other than a Saturday, Sunday, or a legal holiday, as
defined in Rule 9006(a) of the Federal Rules of Bankruptcy Procedure.

      7.      Broker means Jones Lang LaSalle or other real estate broker employed by the
Chapter 11 Trustee in the Chapter 11 Case.

       8.       Broker Compensation means the compensation earned by the Broker by a sale
pursuant to this Agreement and any attendant expenses.

       9.      Cash Consideration means the cash paid by the Buyer at closing.

       10.     Closing has the meaning set forth in Article V.

       11.     Closing Date has the meaning set forth in Article V.

      12.     Confirmation Order means an order confirming a plan of reorganization in the
Chapter 11 Case that implements or incorporates by reference the transaction provided for by this
Agreement.

         13.    Cure Costs means, to the extent applicable, all Assumed Liabilities that must be
paid and obligations that must be satisfied under Sections 365 of the Bankruptcy Code, in
connection with the assumption by Seller and assignment to Buyer of any Assigned Contract. For
the avoidance of doubt, notwithstanding anything provided herein to the contrary, no provision
herein shall be construed as an admission or wavier as to the amount of any potential cure amount,
or as a representation that any assumption, rejection, or assignment within the meaning of Section
365 of the Bankruptcy Code has occurred; such assumptions, rejections, or assignments shall be
addressed by order of the Bankruptcy Court accordingly, to the extent applicable.

       14.     Deed means the Special Warranty Deed attached hereto as Exhibit B.

       15.     Environmental Audit means an environmental audit, review or testing of the Real
Property performed any third party or consultant engaged by Buyer to conduct such study.




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       16.    Environmental Law means any law, statute, ordinance or regulation pertaining to
health, industrial hygiene or the environment, including, without limitation, CERCLA
(Comprehensive Environmental Response, Compensation and Liability Act of 1980) and RCRA
(Resources Conservation and Recovery Act of 1976).

        17.     Exhibits means the following, each of which is attached hereto and incorporated
herein by this reference:

                       Exhibit A - Legal Description
                       Exhibit B - Form of Deed
                       Exhibit C - FIRPTA Affidavit
                       Exhibit D - Bill of Sale
                       Exhibit E - Assignment and Assumption
                       Exhibit F - Schedule of Assigned Contracts

        18.      Final Order means an order or judgment of the Court as entered on the docket in
the Chapter 11 Case, or other court of competent jurisdiction, the operation or effect of which has
not been stayed, reversed or amended, and as to which order or judgment (or any reversal,
modification or amendment thereof) the time to appeal or seek review or rehearing has expired
and as to which no appeal or petition for review or rehearing was filed or, if filed, remains pending;
provided, however, that the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules
of Civil Procedure, or any analogous rule under the Bankruptcy Rules or applicable state court
rules of civil procedure, may be filed with respect to such order, shall not cause an order not to be
a Final Order.

        19.   FIRPTA Affidavit means the Transferor’s Certificate of Non-Foreign Status set
forth on Exhibit C attached hereto.

       20.    Governmental Authority means any federal, state, or local government,
governmental authority, or regulatory or administrative authority or any court, tribunal, or judicial
body having jurisdiction, including the Bankruptcy Court.

       21.     Hazardous Substance means any substance, material or waste which is or becomes
designated, classified or regulated as being “toxic” or “hazardous” or a “pollutant” or which is or
becomes similarly designated, classified or regulated under any Environmental Law.

        22.     Improvements means all improvements, buildings, fixtures, and structures, if any,
owned by Seller and situated on the Real Property, including, without limitation, all apparatus,
equipment and appliances used in connection with the operation or occupancy of the Real Property,
such as heating and air conditioning systems and facilities used to provide any utility, refrigeration,
ventilation, garbage disposal, or other services on the Real Property.

       23.     Knowledge of Seller means the actual knowledge of the Chapter 11 Trustee or his
counsel in the Chapter 11 Case.

       24.     Law(s) means all applicable federal, state and local statutes, ordinances and codes,
including the Bankruptcy Code.



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       25.     Leases means all leases, lease amendments, lease guaranties, work letter
agreements, subleases, assignments, licenses, concessions and similar agreements granting a real
property interest to any Person for the use or occupancy of any portion of the Real Property or the
Improvements.

        26.    Liability means any liability, debt, loss, damage, fine, judgment, penalty, or
obligation of any kind or nature, whether known or unknown, absolute or contingent, accrued or
unaccrued, liquidated or unliquidated, or due or to become due.

        27.      Permits means all building permits, certificates of occupancy, and other
certificates, permits, licenses and approvals pertaining to the Real Property.

        28.      Person means any natural person, corporation, general or limited partnership,
limited liability company, association, joint venture, trust, estate, Governmental Authority or other
legal entity, in each case whether in its own or a representative capacity.

       29.     Personal Property means the equipment, furniture, and other tangible personal
property, if any, that are actually owned by Seller, located on the Real Property and used in the
operation of the Real Property.

      30.     Plan means the Chapter 11 Plan of Liquidation of the Debtor filed by the National
Bank of Kuwait, S.A.K.P., New York Branch, dated as of April 10, 2024, as such Plan may be
amended, supplemented or modified from time to time in accordance with the provisions of the
Bankruptcy Code and the Bankruptcy Rules, together with all addenda, exhibits, schedules,
supplements or other attachments thereto.

       31.    Property means, collectively, the (i) Real Property, (ii) Improvements, (iii)
Personal Property, (iv) Leases, (v) Service Contracts, and (vi) Permits.

       32.     Purchase Price has the meaning set forth in Article III.

       33.   Real Property means that certain real property located in Harris County, State of
Texas and more particularly described in Exhibit A attached hereto.

       34.     Sale has the meaning set forth in the Sale and Bid Procedures.

      35.    Sale and Bid Procedures means the Sale and Bid Procedures approved by the
Bankruptcy Court and attached as Exhibit 1 to the Sale and Bid Procedures Order.

        36.    Sale Procedures Motion means the Chapter 11 Trustee’s motion for entry of an
order from the Bankruptcy Court seeking (i) approval of the Sale and Bid Procedures for the sale
of the Real Property; (ii) scheduling the Auction; (iii) approving assumption and assignment
procedures; (iv) approving the form of notice; and (v) granting related relief.

        37.    Sale and Bid Procedures Order means an order of the Bankruptcy Court granting
the Sale and Bid Procedures Motion and approving the Sale and Bid Procedures.




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        38.    Sale Order means an order the Bankruptcy Court authorizing the sale of the
Property to the Buyer free and clear of all liens, claims and encumbrances that are not Assumed
Liabilities under sections 363(b) and (f) of the Bankruptcy Code and finding that the Buyer is a
good faith purchaser of the Property entitled to the protections of section 363(m) of the Bankruptcy
Code. The Sale Order may be a standalone order or incorporated into a Confirmation Order, in
which case the Confirmation Order shall be the Sale Order for purposes of this Agreement.

       39.     Service Contracts means all service contracts and other contracts, agreements or
instruments relating to the operation of the Property including equipment leases and those set forth
on Exhibit F attached hereto.

        40.   Tax Lien Claims means claims secured by ad valorem tax liens under Chapter 32
of the Texas Tax Code, other than any such claims held by the Buyer.

        41.     Title Company means the entity selected by the Buyer and Seller to perform the
role of title company under this Agreement.

                                         ARTICLE II
                                     PURCHASE AND SALE

        1.      Purchased Assets. Upon the terms and subject to the conditions of this Agreement,
Seller shall sell, convey, assign, transfer and deliver to Buyer, and Buyer shall purchase from
Seller, free and clear of all claims, liens, encumbrances to the extent allowed by Sections 105(a),
363, 1123 and/or 1129 of the Bankruptcy Code, all of Seller’s right, title and interest in and to:

               (a)     the Real Property;

               (b)     all Personal Property;

               (c)     all Improvements;

               (d)     all Permits that may be assigned by Seller to Buyer;

                (e)      to the extent assignable and transferrable and to the extent of any interest of
Seller therein, all site plans, architectural renderings, plans and specifications, engineering plans,
as-built drawings, floor plans, and other similar plans or diagrams, if any, which relate to the Real
Property; and

                (f)      all rights and interests of Seller in and to the Service Contracts and Leases
to which Seller is a party in support or furtherance of the operation of the Real Property indicated
by the Buyer (collectively, the “Assigned Contracts,” and each an “Assigned Contract”). The
items set for in (a)-(f) above, collectively, the “Purchased Assets.”

       2.     Retained Assets. The Purchased Assets shall not include any Service Contracts
and Leases that are not Assigned Contracts (collectively, the “Excluded Assets”).

      3.     Allocation of Liabilities. Upon the terms and subject to the conditions of this
Agreement, Buyer shall assume and agree to pay, perform and discharge only the Liabilities under


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the Assigned Contracts, including the Cure Costs (collectively, the “Assumed Liabilities”). Other
than the Assumed Liabilities, Buyer will not assume, expressly disclaims, and will not otherwise
be responsible for any other Liabilities of Seller. For the avoidance of doubt, (a) Buyer shall be
responsible for any Liabilities newly arising out of the ownership, operation and use of the
Purchased Assets by Buyer after the Closing, and (b) Seller shall be responsible for any Liabilities
arising out of the ownership, operation and use of the Real Property on or prior to the Closing that
are not an Assumed Liability.

       4.       Designation of Assigned Contracts. The Buyer will provide the Trustee with a
schedule of all Assigned Contracts on or before May 31, 2024.

                                         ARTICLE III
                                       PURCHASE PRICE

       1.     Amount. The total consideration to be paid by Buyer to Seller for the Property
(such amount the “Purchase Price”) is:

             (a)      a credit bid in an aggregate amount of $18,600,000.00 (the “Credit Bid
Amount”), subject to the Tax Lien Claims to be paid pursuant to funding provided under the Plan;

                (b)     the Assumed Liabilities assumed by the Buyer at Closing pursuant to
Article II(3) of this Agreement; and

               (c)   the Broker Compensation in an amount agreed to by the Broker in an
amount not to exceed (i) 1% of the Cash Consideration and Credit Bid Amount plus (ii) expenses
of $25,000.00.

       2.     Allocation. The Purchase Price shall be allocated among the various Purchased
Assets in accordance with Section 1060 of the IRC and the applicable Treasury Regulations
promulgated thereunder.

                                   ARTICLE IV
                         REPRESENTATIONS AND WARRANTIES

       1.      Seller. As of the Effective Date and the Closing, Seller represents and warrants to
Buyer that Seller:

               (a)  has received no written notice of any pending or threatened condemnation
or eminent domain proceedings or zoning change proceedings that would affect any party of the
Real Property;

                 (b)     other than as is set forth in this Agreement, Seller has not entered into any
contracts for the sale of, and to the Knowledge of Seller, no person or entity has any option, right
of first refusal, right of first offer, or any other rights to purchase, all or any portion of the Real
Property;




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              (c)     to the Knowledge of Seller, there is no land use or zoning action or
proceeding, or general or special assessment action or proceeding, or condemnation or eminent
domain action or proceeding pending or threatened with respect to the Real Property;

                (d)    since the date of Seller’s appointment as the Chapter 11 Trustee for the
Debtor, Seller has received no written notice that Hazardous Substances are now or have been used
or stored on or within any portion of the Real Property except those substances which are or have
been used or stored on the Real Property in the normal course of use and operation of the Real
Property or the conduct of business by the tenants thereof and in compliance with all applicable
Environmental Laws;

                (e)    since the date of Seller’s appointment as the Chapter 11 Trustee for the
Debtor, Seller has received no written notice of federal, state or local enforcement, clean-up,
removal, remedial or other governmental or regulatory actions under any Environmental Law
instituted or completed affecting the Real Property;

               (f)     since the date of Seller’s appointment as the Chapter 11 Trustee for the
Debtor, Seller has received no written notice of a claim made by any third party against Seller
relating to any Hazardous Substances on or within the Real Property Seller shall not make any
material alterations to the Property without Buyer’s consent, which shall not be unreasonably
withheld or delayed.

        3.      Joint Representations and Warranties. In addition to any express agreements of
the Parties contained herein and, subject to the occurrence of the Bankruptcy Contingencies, the
Parties jointly represent and warrant to each other that:

             (a)     each Party has the legal power, right and authority to enter into this
Agreement and the instruments referenced herein, and to consummate this transaction;

               (b)     all requisite action has been taken by each Party in connection with the
entering into of this Agreement, the instruments referenced herein, and the consummation of this
transaction;

               (c)    no further consent of any partner, shareholder, creditor, investor, judicial or
administrative body, Governmental Authority or other party is required in connection with entering
into this Agreement;

               (d)     the individuals executing this Agreement and the instruments referenced
herein on behalf of each Party have the legal power, right, and actual authority to bind each Party
to the terms and conditions of those documents;

                (e)     this Agreement and such other documents now or hereafter to be executed
and delivered by either Party under this Agreement, when executed and delivered, and subject to
the satisfaction of the Bankruptcy Contingencies, will each constitute the legal, valid and binding
obligations of the relevant Party enforceable against such Party in accordance with its terms; and

                (f)      except for the Broker, neither Party has dealt with any Person who has acted,
directly or indirectly, as a broker, finder, financial adviser or in such other capacity for or on behalf


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of either Party in connection with the transaction contemplated by this Agreement in any manner
which would entitle such Person to any fee or commission in connection with this Agreement or
the transaction contemplated in this Agreement.

                                           ARTICLE V
                                            CLOSING

         1.      Closing. The closing (the “Closing”) of the Sale shall occur remotely via the
electronic exchange of documents and signature pages on or within three (3) Business Days after
the conditions set forth in Article VI satisfied or, if legally permissible, are waived (other than
those conditions that by their nature are to be satisfied (or validly waived) at the Closing, but
subject to such satisfaction or waiver) (or such other date as the Parties may agree in writing), or
at such other time or place as Buyer and Seller may agree. The date on which the Closing occurs
is referred to as the (“Closing Date”).

         2.     Title Insurance. At the Closing, the Title Company shall agree to issue to Buyer
an ALTA Owners Title Insurance Policy (2006) with coverage in an amount equal to the Purchase
Price showing title to the Real Property and Improvements vested in Buyer subject only to the
Permitted Exceptions and the standard printed exceptions, exclusions and conditions in the policy
of title insurance (the “Title Policy”). Buyer shall pay the premium for the Title Policy and, if the
Closing does not occur, costs related to the issuance of the title commitment. If Buyer elects to
obtain any additional endorsements or an extended coverage policy, any additional premiums or
costs for the extended coverage policy and endorsements shall be at Buyer’s sole cost and expense.

        3.     Recording. At the Closing, Buyer shall promptly undertake all of the following:
(a) cause the Deed to be recorded with the Harris County Clerk’s Office, Real Property, in the
State of Texas and obtain conformed copies thereof for distribution to Buyer and Seller; and (b)
request the Seller to direct the Title Company to issue the Title Policy to Buyer.

                                       ARTICLE VI
                                   CLOSING CONDITIONS

      1.     Title Transfer. At the Closing, fee simple title to the Real Property and the
Improvements shall be conveyed to Buyer by Seller by Deed, subject only to the following
(“Permitted Exceptions”):

              (a)    a lien for real property taxes and assessments, water charges, sewer
assessments and each other lien or encumbrance of an indefinite or unascertainable amount not
then delinquent;

               (b)     matters of title described in the preliminary title report;

              (c)     matters affecting the condition of title to the Property created by or with the
written consent of Buyer;

               (d)    any matters which would be shown by an inspection, a survey of the
Property or by inquiry of persons in possession of the Property; and



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               (e)     rights of parties in possession.

        2.      The Parties agree that Seller makes no express or implied warranties regarding the
condition of title to the Property, and Buyer shall rely on the Title Policy for protection against
any title defects.

        3.     Seller Deliveries to Buyer at Closing. On or prior to the Closing Date, Seller shall
deliver or cause to be delivered to Buyer:

              (a)    the Deed duly executed and acknowledged by Seller and in recordable form
conveying the Real Property and Improvements to Buyer;

               (b)     the FIRPTA Affidavit duly executed by Seller;

               (c)     the Bill of Sale duly executed by Seller;

               (d)     the Assignment and Assumption Agreement executed by Seller;

                (e)    possession of the Property to Buyer upon the Closing, subject to the right
of parties in possession, if any; and

             (f)       to the extent reasonably practicable, all books and records included in the
Purchased Assets.

        4.     Buyer Deliveries to Seller at Closing. On or prior to the Closing Date, Buyer shall
deliver or cause to be delivered to Seller:

               (a)     to the extent applicable, the Purchase Price in the manner specified in
Article III;

               (b)     the Bill of Sale duly executed by Buyer; and

               (c)     the Assignment and Assumption Agreement executed by Buyer.

        5.     Conditions Precedent.

                (a)     Seller. The Closing and Seller’s obligations with respect to this transaction
are subject to the following conditions precedent: (a) the satisfaction of each of the Bankruptcy
Contingencies, (b) Buyer’s delivery to Seller on or before the Closing Date of the items described
in Article VI(4), (c) Buyer shall have performed and complied with all material agreements and
covenants to be performed by Buyer hereunder, and Seller shall not have notified Buyer in writing
of any breach and such breach has not been remedied within three (3) days thereafter, and (d)
Buyer’s representations, warranties and covenants set forth in this Agreement shall be true and
correct as of the Closing Date.

                (b)     Buyer. The Closing and Buyer’s obligations with respect to this transaction
are subject to the following conditions precedent: (a) the satisfaction of each of the Bankruptcy
Contingencies, (b) Seller’s delivery to Buyer on or before the Closing Date of the items described



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in Article VI(3), (c) Seller shall have obtained (with the reasonable assistance of NBK) a Final
Order authorizing Seller’s assumption of the Assigned Contracts and the assignment of same to
Buyer, to the extent not otherwise included within the Sale Order, (d) Seller shall have performed
and complied with all material agreements and covenants to be performed by Seller hereunder,
and Buyer shall not have notified Seller in writing of any breach and such breach has not been
remedied within three (3) days thereafter, (e) Seller’s representations and warranties set forth in
this Agreement shall be true and correct as of the Closing Date, and (f) the Title Company shall
have provided an irrevocable commitment to issue the Title Policy.

               (c)     All Parties. The obligation of each Party to consummate the Sale on the
Closing Date is subject to the fulfillment of the following conditions: (a) the Bankruptcy Court
shall have entered the Sale and Bid Procedures Order; (b) the Bankruptcy Court shall have entered
the Sale Order and such order has become a Final Order; and (c) there shall not be in effect any
Law restraining, enjoining, or prohibiting the consummation of the Sale; provided that,
notwithstanding anything to the contrary in this Article VI(5), the Buyer, and only the Buyer, may
waive the obligation that any order entered by the Bankruptcy Court become a Final Order as a
condition to Closing.

       6.      Frustration. No Party may rely on the failure of any condition set forth in Article
VI (3) and (4) as the case may be, to be satisfied to excuse such party’s obligation to effect the
Closing if such failure was caused by such Party’s breach of this Agreement.

                                          ARTICLE VII
                                          COVENANTS

       Between the Effective Date and the Closing Date, Seller:

              (a)    shall not enter into any new contract or other agreement relating to the
Property without Buyer’s written consent;

               (b)     shall refrain from committing any waste upon the Real Property;

                (c)    shall keep all insurance policies covering or relating to the Real Property in
full force and effect;

               (d)     shall not encumber the Real Property or sell or transfer any interest or option
in the Real Property other than in accordance with the Sale and Bid Procedures Order;

              (e)     shall not sell, assign, or otherwise transfer any development rights in the
Real Property other than in accordance with the Sale and Bid Procedures Order;

                (f)    shall not submit any application relating to zoning, rezoning or other land
use matter for the Real Property without Buyer’s written consent; and

              (g)    shall not apply for any new permit, license or certificate relating to the Real
Property without Buyer’s written consent.




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               (h)    absent written consent of Buyer, shall not convey any interest in the
Property and shall not subject the Property to any additional liens, encumbrances, covenants,
conditions, easements, rights of way or similar matters after the date of this Agreement, except as
may be provided for in this Agreement, which shall not be eliminated or removed prior to the
Closing Date;

               (i)    shall maintain the Property in substantially the same condition as at the
Effective Date, ordinary wear and tear excepted; and

               (j)    shall (i) keep and perform all of the obligations to be performed by Seller
under any Leases or Service Contracts, (ii) not enter into any contract or agreement providing for
the provision of goods or services to or with respect to the Property or the operation thereof unless
such contracts or agreements can be terminated upon not more than thirty (30) days’ notice and
without payment of penalty, and (iii) not enter into any new Leases for any portion of the Property
or extend the terms of any existing Leases without Buyer’s written consent, which consent shall
not be unreasonably withheld or delayed.

                                     ARTICLE VIII
                                BANKRUPTCY PROVISIONS

         1.     Sale and Bid Procedures Order. The Chapter 11 Trustee promptly shall file the
Sale and Bid Procedures Motion seeking entry of the Sale and Bid Procedures Order. The Sale and
Bid Procedures Order will provide, among other things, (a) all competing bids shall include
additional consideration of not less than the sum of (i) the Purchase Price plus (ii) any successive
overbids shall be made in increments of not less than $250,000 in excess of the last submitted,
highest qualified bid for the Property; (b) deadlines for the submission of competing bids, the
selection of a Qualified Bid (as defined in the Sale and Bid Procedures)] and Auction procedures,
all consistent with the provisions of the Sale and Bid Procedures; (c) that proposals for competing
bids must be in writing and submitted using this Agreement as a form (a “Competing
Agreement”); (d) that a Competing Agreement must contain substantially all the material terms
and conditions contained in this Agreement, and must be marked to show changes from this
Agreement; (e) that Buyer, to the extent an Auction occurs pursuant to the Sale and Bid Procedures,
may participate in any competitive bidding as it so elects, but without any obligation to do so; and
(f) for any person submitting a competing bid to provide a good faith deposit equal to ten percent
(5%) of the cash purchase price to be paid in accordance with the Bid Requirements.

        2.      Bankruptcy Court Approval. Seller and Buyer acknowledge that this Agreement
and the consummation of the transactions contemplated hereby are subject to the Bankruptcy
Court’s approval. Seller and Buyer acknowledge that (a) each must comply with the Sale and Bid
Procedures and Sale and Bid Procedures Order, and (b) Buyer must provide adequate assurance of
its future performance within the meaning of section 365(f)(2)(B) of the Bankruptcy Code with
respect to the Assigned Contracts. Seller agrees that it will promptly take all actions reasonably
required to assist in obtaining a Bankruptcy Court finding that there has been an adequate
demonstration of adequate assurance of future performance under the Assigned Contracts, such as
furnishing timely requested and factually accurate affidavits, non-confidential financial
information, and other documents or information for filing with the Bankruptcy Court and making
Buyer’s representatives available to testify before the Bankruptcy Court.


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                                            ARTICLE IX
                                           PRORATIONS

       Prorations shall be made as of the Closing Date as if Buyer were in title for the entire
Closing Date, and the following shall be prorated and adjusted between Seller and Buyer:

                (a)    Utilities. Buyer shall notify the utility companies that all utility bills for the
period commencing on the Closing Date are to be sent to Buyer. In addition to the Purchase Price,
Buyer shall pay to Seller an amount equal to the total of all utility deposits held by utility
companies and Seller shall assign to Buyer all of Seller’s right, title and interest in any such utility
deposits; provided, however, Seller reserves the right to receive a return of such utility deposits
and in such event, Buyer shall arrange for substitute deposits with the utility companies as may be
required. If following the Closing Date either Buyer or Seller receives a bill for utilities or other
services provided to the Property for the period on which the Closing Date occurred, then Buyer
and Seller shall equitably prorate the bill.

               (b)     Rental Income. Other than amounts covered by subsection (b) below,
uncollected rent shall not be prorated at Closing. Buyer shall have the right to collect delinquent
rent.

                 (c)    Service Contracts. If after the Closing Date, either Seller or Buyer receives
a bill for services provided under the Service Contracts for the period after which the Closing Date
occurred, Buyer shall be responsible for such bill.

               (d)     Other Transaction Costs. All other fees, costs and expenses not expressly
addressed in this Article VIII or elsewhere in this Agreement shall be allocated between Seller and
Buyer in accordance with applicable local custom for similar transactions.

                (e)     Tenant Deposits. The amount of all cash security and any other cash tenant
deposits actually held by Seller, and any interest due thereon (if required by law or contract to be
earned thereon) and not already applied to tenant obligations under the Leases, if any, shall be
credited to Buyer. Buyer will indemnify, defend, and hold Seller harmless from and against all
demands and claims made by tenants with respect to any security deposits transferred or credited
to Buyer at Closing and will reimburse Seller for all attorneys’ fees incurred or that may be
incurred as a result of any such claims or demands.

              (f)    Method of Proration. All prorations shall be made as of the Closing Date
based on a 365-day year.

                                         ARTICLE X
                                     COSTS AND EXPENSES

        Except as otherwise expressly provided in this Agreement, whether or not the transactions
contemplated by this Agreement are consummated, the Parties shall bear their own costs and
expenses (including all compensation and expenses of counsel, financial advisors, consultants,
actuaries, independent accountants, and any mortgage brokers) incurred in connection with this
Agreement and any transaction contemplated hereby. All other normal costs and expenses shall
be allocated between Buyer and Seller in accordance with the customary practice in the county in


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which the Real Property is located, provided that Buyer shall pay: (i) all premiums for the Title
Policy, any additional cost of an extended coverage title policy and the cost of any endorsements
required by Buyer; and document recording charges.

                                         ARTICLE XI
                                           “AS IS”

      EXCEPT FOR SELLER’S REPRESENTATIONS AND WARRANTIES SET FORTH IN
ARTICLE IV (“SELLER’S WARRANTIES”), TO THE MAXIMUM EXTENT PERMITTED
BY APPLICABLE LAW, THIS SALE IS MADE AND WILL BE MADE WITHOUT
REPRESENTATION, COVENANT, OR WARRANTY OF ANY KIND (WHETHER EXPRESS
OR IMPLIED) BY SELLER. AS A MATERIAL PART OF THE CONSIDERATION FOR THIS
AGREEMENT, BUYER AGREES TO ACCEPT THE PROPERTY ON AN “AS IS”, “WHERE
IS”, “WITH ALL FAULTS” BASIS, AND WITHOUT ANY REPRESENTATION OR
WARRANTY RELATING TO THE PROPERTY, ALL OF WHICH SELLER HEREBY
DISCLAIMS EXCEPT FOR SELLER’S WARRANTIES. NONE OF SELLER OR ANY OF ITS
SHAREHOLDERS, MEMBERS, PARTNERS, TRUSTEES, DIRECTORS, OFFICERS,
MANAGERS, EMPLOYEES, AGENTS (INCLUDING BROKER) OR REPRESENTATIVES,
NOR ANY PERSON PURPORTING TO REPRESENT ANY OF THE FOREGOING, HAVE
MADE ANY REPRESENTATION, WARRANTY, GUARANTY, PROMISE, PROJECTION
OR PREDICTION WHATSOEVER WITH RESPECT TO THE PROPERTY OR ANY
PORTION THEREOF, WRITTEN OR ORAL, EXPRESS OR IMPLIED, ARISING BY
OPERATION OF LAW OR OTHERWISE.

      EXCEPT FOR SELLER’S WARRANTIES, NO WARRANTY OR REPRESENTATION
IS MADE BY SELLER RELATED TO THE PROPERTY OF ANY KIND, INCLUDING
WITHOUT LIMITATION ANY WARRANTY AS TO FITNESS FOR ANY PARTICULAR
PURPOSE, MERCHANTABILITY, HABITABILITY, DESIGN, QUALITY, CONDITION,
OPERATION OR INCOME, COMPLIANCE WITH DRAWINGS OR SPECIFICATIONS,
ABSENCE OF DEFECTS, ABSENCE OF HAZARDOUS OR TOXIC, ABSENCE OF FAULTS,
FLOODING, OR COMPLIANCE WITH LAWS AND REGULATIONS (INCLUDING LAWS
AND REGULATIONS RELATING TO HEALTH, SAFETY, AND THE ENVIRONMENT).
SPECIFICALLY, BUT WITHOUT LIMITING THE GENERALITY OF THE FOREGOING,
SELLER HEREBY EXPRESSLY DISCLAIMS THE IMPLIED WARRANTY OF
HABITABILITY. BUYER ACKNOWLEDGES THAT IT HAS ENTERED INTO THIS
AGREEMENT WITH THE INTENTION OF MAKING AND RELYING UPON ITS OWN
INVESTIGATION OF THE PHYSICAL, ENVIRONMENTAL, ECONOMIC USE,
COMPLIANCE, AND LEGAL CONDITION OF THE PROPERTY AND THAT, EXCEPT FOR
SELLER’S WARRANTIES, BUYER IS NOT NOW RELYING, AND WILL NOT LATER
RELY, UPON ANY REPRESENTATIONS AND WARRANTIES MADE BY SELLER OR
ANYONE ACTING OR CLAIMING TO ACT, BY, THROUGH OR UNDER OR ON SELLER’S
BEHALF CONCERNING THE PROPERTY.

       The provisions of this Article XI shall survive indefinitely and closing or termination of
this Agreement and shall not be merged into the closing documents.




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                                          ARTICLE XII
                                        CONDEMNATION

         Risk of loss resulting from any condemnation or eminent domain proceeding which is
commenced or has been threatened before the Closing Date, and risk of loss to the Property due to
fire, flood or any other cause before the Closing Date, shall remain with Seller. If before the
Closing Date the Property or any portion thereof shall be materially damaged, or if the Property or
any material portion thereof shall be subjected to a bona fide threat of condemnation with respect
to the taking by eminent domain or condemnation, then Buyer may terminate this Agreement by
written notice to Seller given within five (5) days after Seller notifies Buyer of the damage or
taking. If the Closing Date is within the aforesaid 5-day period, then the Closing Date shall be
extended to the next Business Day following the end of said 5-day period. If no such election is
made, and in any if the damage after a casualty is not material or if a non-material portion of the
Property is subject to a taking, this Agreement shall remain in full force and effect and the purchase
contemplated herein, less any interest taken by eminent domain or condemnation, shall be effected
with no further adjustment except as contemplated in this paragraph. If the Property was subject
to a taking, at Closing Seller shall assign, transfer and set over to Buyer all of the right, title and
interest of Seller in and to any awards that have been or that may thereafter be made for any taking.
If the Property was damaged, at Closing Seller shall reduce the Purchase Price by the value
reasonably estimated by Seller to repair or restore the damaged portion of the Improvements, less
any sums expended by Seller to make emergency repairs to the Improvements or the Property or
otherwise protect the physical condition of the Improvements or the Property. In either case, this
transaction shall close pursuant to the terms of this Agreement. For the purposes of this paragraph,
the phrases “material damage” and “materially damaged” mean damage up to a maximum
aggregate amount of $500,000.00.

                                          ARTICLE XIV
                                         TERMINATION

       1.       Termination. Notwithstanding anything contained in this Agreement to the
contrary, this Agreement shall terminate and the Closing shall not occur if:

               (a)    either Party is in material breach or default of its covenants or obligations
under this Agreement, which breach or default is not caused by a default by Seller or Buyer, as to
which Seller or Buyer has provided written notice to either Party and such Party has not remedied
such breach within ten (10) Business Days thereafter;

               (b)      Seller has not satisfied any one or more the conditions precedent set forth
in Article VI(3) at or prior to the Closing Date;

               (c)      Buyer has not satisfied any one or more the conditions precedent set forth
in Article VI(4) at or prior to the Closing Date;

               (d)     if the Bankruptcy Court declines to enter the Sale Order;

               (e)     by mutual written consent of Seller and Buyer;




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               (f)      the Bankruptcy Court enters a Final Order dismissing the Chapter 11 Case
or converting it to a case under Chapter 7 of the Bankruptcy Code;

              (g)   a Governmental Authority issues a Final Order prohibiting the transactions
contemplated hereby where such Final Order was requested, encouraged, or supported by Seller;
or

               (h)   Buyer is not the Successful Bidder (as defined in the Sale and Bid
Procedures) at the Auction and Seller sells the Property pursuant to a Competing Agreement (an
“Alternative Transaction”).

        2.      Effect of Termination. In the event of the termination of this Agreement in
accordance with this Article XIV, (a) this Agreement shall immediately become void and of no
force or effect, except for this Article XIV which shall survive termination of this Agreement, (b)
the transactions contemplated by this Agreement shall be abandoned without further action by any
Party, and (c) all rights and obligations of the Parties hereunder (except for this Article XIV) shall
terminate without any liability of any Party to any other Party or their Affiliates; provided,
however, no such termination shall relieve any Party from any liability for any fraud prior to such
termination.

                                         ARTICLE XV
                                       MISCELLANEOUS

        1.      Assignment. This Agreement binds and benefits the Parties and their respective
successors and assigns. Neither Party may assign this Agreement nor any right or obligation
hereunder without the prior written consent of the other Party; provided, however, that Buyer may
assign this Agreement to an affiliate or any entity that controls, is controlled by or is under common
control with Buyer without Seller’s prior consent. Any such assignment by either Party shall not
relieve the assignor of any obligation under this Agreement without the written consent of the other
Party to this Agreement and the assignee shall also be bound by the obligations of the assignor
pursuant to this Agreement.

        2.     Counterparts. This Agreement may be executed in counterparts, by either an
original signature or signature transmitted by facsimile transmission or other similar process and
each copy so executed shall be deemed to be an original and all copies so executed shall constitute
one and the same agreement.

        3.       Severability. If any term or provision of this Agreement shall be deemed to be
invalid or unenforceable to any extent, the remainder of this Agreement shall not be affected
thereby, and each remaining term and provision of this Agreement shall be valid and be enforced
to the fullest extent permitted by law.

        5.      Waivers; Survival. No waiver of any breach of any covenant or provision
contained herein shall be deemed a waiver of any preceding or succeeding breach thereof, or of
any other covenant or provision contained herein. No extension of time for performance of any
obligation or act shall be deemed an extension of the time for performance of any other obligation
or act except those of the waiving Party, which shall be extended by a period of time equal to the
period of the delay. All covenants and agreements contained herein which by their terms are to be


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performed in whole or in part, or which prohibit actions, subsequent to the Closing shall, solely to
the extent such covenants and agreements are to be performed, or prohibit actions, subsequent to
the Closing, survive the Closing in accordance with their terms. All other covenants and
agreements contained herein, and all representations and warranties contained herein or in any
certificated deliveries hereunder, shall not survive the Closing and shall thereupon terminate.

        6.     Successors and Assigns. This Agreement is binding upon and inures to the benefit
of the permitted successors and assigns of the Parties hereto.

        7.      Entire Agreement. This Agreement, including all Exhibits attached hereto,
constitutes the entire contract between the Parties hereto with respect to the subject matter hereof
and may not be modified except by an instrument in writing signed by the Party to be charged.
Seller and Buyer shall cooperate to create mutually acceptable Exhibits in place of all Exhibits that
are not attached hereto as of the Effective Date.

        8.     Time of Essence. Seller and Buyer acknowledge and agree that time is strictly of
the essence with respect to each and every term, condition, obligation and provision hereof.

         9.     Construction. The Parties acknowledge and agree that this Agreement is the result
of arms-length negotiations and shall not be construed for or against any Party by virtue of
draftsmanship. Unless the context requires otherwise, (a) the words “include,” “including” and
variations thereof mean without limitation; (b) the words “hereof,” “hereby,” “herein,”
“hereunder” and similar terms refer to this Agreement as a whole and not any particular section or
article in which such words appear; (c) words in the singular include the plural, and words in the
plural include the singular; (d) a term defined as one part of speech (such as a noun) shall have a
corresponding meaning when used as another part of speech (such as a verb); and (e) currency
amounts referenced herein are in U.S. Dollars.

        10.      Governing Law; Jurisdiction. Except to the extent the mandatory provisions of
the Bankruptcy Code apply, this Agreement shall be governed by the laws of the State of Texas
without regard to principles of conflicts or choice of laws or any other law that would make the
laws of any other jurisdiction other than the State of Texas applicable hereto. Without limitation
of any Party’s right to appeal any order of the Bankruptcy Court, (i) the Bankruptcy Court shall
retain exclusive jurisdiction to enforce the terms of this Agreement and to decide any claims or
disputes which may arise or result from, or be connected with, this Agreement, any breach or
default hereunder, or the transactions contemplated hereby and (ii) any and all claims relating to
the foregoing shall be filed and maintained only in the Bankruptcy Court, and the Parties hereby
consent and submit to the exclusive jurisdiction and venue of the Bankruptcy Court and
irrevocably waive the defense of an inconvenient forum to the maintenance of any such
proceeding; provided, however, that, if the Chapter 11 Case is closed, all proceedings arising out
of or relating to this Agreement shall be heard first by the Bankruptcy Court, but if the Bankruptcy
Court determines that it lacks subject matter jurisdiction or abstains or otherwise declines to
exercise its jurisdiction, then in any other state or federal court of competent jurisdiction situated
in Harris County, Texas, and the Parties hereby irrevocably submit to the exclusive jurisdiction
and venue of such courts in any such proceeding and irrevocably waive the defense of an
inconvenient forum to the maintenance of any such proceeding. The Parties consent to service of



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process by first class mail at the addresses listed in Article XV(14) or any other manner permitted
by law.

     11.   Waiver of Jury Trial. THE PARTIES HEREBY IRREVOCABLY WAIVE ALL
RIGHT TO TRIAL BY JURY IN ANY PROCEEDING OR COUNTERCLAIM (WHETHER
BASED IN CONTRACT OR IN TORT, OR OTHERWISE) ARISING OUT OF OR RELATING
TO THIS AGREEMENT OR THE ACTIONS OF SELLER, BUYER, OR THEIR
REPRESENTATIVES IN NEGOTIATION OR PERFORMANCE HEREOF.

        12.      Integration; Binding Effect; No Third-Party Beneficiaries. This Agreement
constitutes the entire Agreement among the Parties with respect to the subject matter hereof and
shall supersede all previous negotiations, commitments and writings. All Exhibits called for by
this Agreement and delivered to the Parties shall be considered a part hereof with the same force
and effect as if the same had been specifically set forth in this Agreement. This Agreement is solely
for the benefit of Buyer and Seller, and their respective successors and permitted assigns. This
Agreement shall not be deemed to confer upon or give to any third party, including any past or
present directors, officers, employees, or agents of Seller, any remedy, claim, cause of action or
other right.

        13.      No Recordation. Buyer agrees not to record a memorandum or other document
relating to this Agreement without the prior written consent of Seller.

        14.     Notices. All notices, requests, demands, and other communications to be given
under this Agreement shall be in writing and delivered in person, or sent by (i) electronic mail, (ii)
certified mail, postage prepaid, or (iii) nationally recognized overnight courier with a reliable
tracking service and properly addressed as follows:

 Seller:                 Chapter 11 Trustee c/o Galleria 2425 Owner, LLC
                         Jones Murray LLP
                         602 Sawyer Street, Suite 400
                         Houston, TX 77007
                         Attn.: Christopher R. Murray
                         Email: christopher.murray@jonesmurray.com

                         With a copy to:

                         Shannon & Lee LLP
                         2100 Travis Street, Suite 1525
                         Houston, TX 77002
                         Attn.: R. J. Shannon; Kyung S. Lee
                         Email: rshannon@shannonleellp.com; klee@shannonleellp.com

 Buyer:                  National Bank of Kuwait, S.A.K.P., New York Branch
                         299 Park Avenue
                         New York, NY 10171
                         Attn.: Marwan Isbaih; Michael C. Carter




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                        With a copy to:

                        Pillsbury Winthrop Shaw Pittman LLP
                        609 Main Street Suite 2000
                        Houston, TX 77002
                        Attn.: Charles C. Conrad; Ryan Steinbrunner
                        Phone: (713) 276-7600
                        Facsimile: (713) 276-7634
                        Email: charles.conrad@pillsburylaw.com;
                        ryan.steinbrunner@pillsburylaw.com

                        - and –

                        Pillsbury Winthrop Shaw Pittman LLP
                        31 West 52nd Street
                        New York, NY 10019-6131
                        Phone: (212) 858-1000
                        Facsimile: (212) 858-1500
                        Attn.: Andrew M. Troop; Patrick E. Fitzmaurice; Kwame O. Akuffo
                        Email: andrew.troop@pillsburylaw.com;
                        patrick.fitzmaurice@pillsburylaw.com; kwame.akuffo@pillsburylaw.com


        15.    Environmental Notices. From the Effective Date through the Closing Date, Seller
shall promptly notify Buyer if to the Knowledge of Seller there are any threatened or pending
investigations by any governmental agency under any law, regulation or ordinance pertaining to
any Hazardous Substance.

        16.     Further Assurances. From the Effective Date until the Closing or termination of
this Agreement, Seller and Buyer shall use commercially reasonable efforts to take, or cause to be
taken, all actions and to do, or cause to be done, all things necessary, proper or advisable to
consummate the transaction contemplated in this Agreement, including, without limitation, (a)
obtaining all necessary consents, approvals and authorizations required to be obtained from any
Governmental Authority, including, without limitation, the Bankruptcy Court, or other Person
under this Agreement or applicable law, and (b) effecting all registrations and filings required
under this Agreement or applicable law. After the Closing, Seller and Buyer shall use
commercially reasonable efforts (at no cost or expense to such Party, other than any de minimis
cost or expense or any cost or expense which the requesting Party agrees in writing to reimburse)
to further effect the transaction contemplated in this Agreement. This Article XV(16) shall survive
the Closing.



                                   [Signature Page Follows]




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        IN WITNESS     WHEREOF,      the Parties hereto have executed this Agreement as of the
Effective Date.

 “SELLER”                                       “BUYER”

 Christopher R. Murray as the Chapter 11        National Bank of Kuwait, S.A.K.P., New
 Trustee of Galleria 2425 Owner,    LLC

By:
Name: Christopher R. Murray         ()
Title: Chapter 11 Trustee                       Title:   Vice President

                                                By:        A         be
                                                Name: Matthew Rickert
                                                Title: Senior Vice President




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                                EXHIBIT A

                     LEGAL DESCRIPTION OF PROPERTY

Tract 1: Fee Tract

BEING 2.4462 ACRES (106,557 SQUARE FEET) OF LAND OUT OF THE WILLIAM WHITE
SURVEY, ABSTRACT NO. 836, HOUSTON, HARRIS COUNTY, TEXAS, BEING THE SAME
PROPERTY CONVEYED TO 2425 WEST LOOP, LP UY SPECIAL WARRANTY DEED
RECORDED UNDER HARRIS COUNTY CLERK’S FILE NO. 20070732472, SAID TRACT
CONVEYED BY DEED TO ONE WEST LOOP PLAZA, LTD. UNDER HCCF' NO. S547896
AND BEING MORE PARTICULARLY DESCRIBED BY METES AND BOUNDS AS
FOLLOWS :

COMMENCING AT A POINT IN THE NORTHERLY RIGHT OF WAY LINE WESTHEIMER
ROAD (ROW VARIES) BEING THE SOUTHEAST CORNER OF A 2.3468 ACRE PARCEL
CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE COMPANY TO RED LION
HOTELS, INC. IN A DEED RECORDED IN HCCF NO. S056346 AND THE SOUTHWEST
CORNER OF A 3.4385 ACRE PARCEL CONVEYED BY HARVEY R. HOUCK, JR., TO
RESTPROP, LTD IN A OEED RECORDED IN HCCF NO. R228886;

THENCE, NORTHERLY NORTH 02 DEGREES 23 MINUTES 52 SECONDS WEST, 204.61
FEET ALONG THE COMMON LINE OF THE AFORESAID 2.3468 ACRE PARCEL TO THE
WEST AND 3.4385 ACRE PARCEL TO THE EAST, TO A 1/2 INCH IRON ROD FOUND AT
THE NORTHEAST CORNER OF THE 2.3468 ACRE PARCEL BEING THE SOUTHEAST
CORNER OF THE HEREIN DESCRIBED PARCEL AND THE POINT OF BEGINNING;

THENCE, WESTERLY ALONG TI IE COMMON LINE OF THE 2.3468 ACRE PARCEL TO
THE SOUTH AND THE HEREIN DESCRIBED PARCEL TO THE NORTH, SOUTH 87
DEGREES 44 MINUTES 46 SECONDS WEST, 464.50 FEET TO A POINT ON THE
EASTERLY RIGHT OF WAY (ROW) LINE OF INTERSTATE 610 WEST LOOP AND THE
SOUTHWEST CORNER OF THE HEREIN DESCRIBED PARCEL FROM WHICH A FOUND
RAILROAD SPIKE BEARS SOUTH 21 DEGREES 43 MINUTES EAST 2.42 FEET;

THENCE, NORTHERLY ALONG THE EASTERLY RIGHT OF WAY LINE OF INTERSTATE
610 WEST LOOP (ROW 350 FEET} NORTH 10 DEGREES 55 MINUTES 17 SECONDS EAST
251.27 FEET TO AN “X” SET IN CONCRETE BEING THE SOUTHWEST CORNER OF A
7.8998 ACRE PARCEL AS SHOWN ON THE HOUSTON VENTURE PLAT UNRESTRICTED
RESERVE “A” FILED IN THE HARRIS COUNTY MAP RECORDS AS FILM CODE
NUMBER 356074, AND THE NORTHWEST CORNER OF THE HEREIN DESCRIBED
PARCEL;

THENCE, EASTERLY ALONG THE COMMON LINE OF THE ABOVE INDICATED 7.8998
ACRE PARCEL TO THE NORTH AND Tl-IE HEREIN DESCRIBED PARCEL TO THE
SOUTH NORTH 87 DEGREES 44 MINUTES 46 SECONDS EAST, 406.61 FEET TO AN “X”
FOUND IN THE WESTERLY LINE OF A 3.4385 ACRE PARCEL OF LAND CONVEYED TO
RESTPROP, LTD AS RECORDED IN THE HCCF NO. R228886;


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THENCE, SOUTHERLY ALONG A COMMON LINE OF THE ABOVE INDICATED 3.4385
ACRE PARCEL TO THE EAST AND THE HEREIN DESCRIBED PARCEL TO THE WEST,
SOUTH 02 DEGREES 23 MINUTES 52 SECONDS EAST, 244.64 FEET TO THE POINT OF
BEGINNING CONTAINING 106,557 SQUARE FEET, 2.4462 ACRES MORE OR LESS.

Tract 2: Easement Tract; 20-Foot Non-Exclusive Roadway and Pedestrian Easement

A NON-EXCLUSIVE ROADWAY AND PEDESTRIAN EASEMENT OVER AND ACROSS A
TRACT OF LAND NORTHERLY OF AND 20 FEET WIDE ALONG THE ENTIRE
NORTHERLY BOUNDARY LINE OF TRACT I; SAID EASEMENT CREATED AND
GRANTED BY VIVIAN L. SMITH, INDIVIDUALLY AND AS INDEPENDENT EXECUTRIX
OF THE ESTATE OF R. E. SMITH, DECEASED IN THAT CERTAIN GENERAL WARRANTY
DEED DATED JULY 5, 1977 FILED IN HCCF NO. F216562 AND DESCRIBED IN HCCF NO.
G743294, BEING THE SAME EASEMENT CONVEYED TO PCCP FULLER 2425 WEST
LOOP, LLC BY SPECIAL WARRANTY DEED WITH VENDOR’S LIEN RECORDED UNDER
HARRIS COUNTY CLERK’S FILE NO. 20100450007, AND BEING MORE PARTICULARLY
DESCRIBED BY METES AND BOUNDS AS FOLLOWS:

COMMENCING AT A POINT IN THE NORTHERLY RIGHT OF WAY LINE OF
WESTHEIMER ROAD (ROW VARIES), BEING THE SOUTHEAST CORNER OF A 2.3468
ACRE PARCEL CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE COMPANY TO
RED LION HOTELS INC. IN A DEED RECORDED IN HCCF NO. S056346 AND THE
SOUTHWEST CORNER OF A 3.4385 ACRE PARCEL CONVEYED BY HARVEY R.
HOUCK, JR., TO RESTPROP, LTD IN A DEED RECORDED IN HCCF NO. R228886;

THENCE, NORTHERLY NORTH 02 DEGREES 23 MINUTES 52 SECONDS WEST, 204.61
FEET ALONG THE COMMON LINE OF THE AFORESAID 2.3468 ACRE PARCEL TO THE
WEST AND 3.4385 ACRE PARCEL TO THE EAST TO A 1/2 INCH IRON ROD FOUND FOR
THE SOUTHEAST CORNER OF TRACT 1;

THENCE CONTINUING NORTHERLY NORTH 02 DEGREES 23 MINUTES 52 SECONDS
WEST, 244.64 FEET ALONG A COMMON LINE OF A PREVIOUSLY NOTED 3.4385 ACRE
PARCEL OF LAND TO THE EAST AND TRACT I TO THE WEST TO AN “X” FOUND FOR
THE NORTHEAST CORNER OF TRACT I AND THE POINT OF BEGINNING;

THENCE, WESTERLY SOUTH 87 DEGREES 44 MINUTES 46 SECONDS WEST, 406.61
FEET ALONG THE NORTHERLY LINE OF TRACT I TO AN “X” SET ON THE EASTERLY
LINE OF INTERSTATE 610 WEST LOOP (350 FEET WIDE);

THENCE, NORTHERLY NORTH 10 DEGREES 55 MINUTES 17 SECONDS EAST 20.54
FEET ALONG THE EASTERLY LINE OF INTERSTATE 610 WEST LOOP TO A POINT;

THENCE, EASTERLY 20.00 PEET NORTHERLY FROM AND PARALLEL TO THE
NORTHERLY LINE OF TRACT I, NORTH 87 DEGREES 44 MINUTES 46 SECONDS EAST,
401.88 FEET TO A POINT;




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THENCE, SOUTHERLY SOUTH 02 DEGREES 23 MINUTES 52 SECONDS EAST 20.00
FEET TO THE POINT OF BEGINNING AND CONTAINING 0.1856 ACRES OR 8,085
SQUARE FEET OF LAND MORE OR LESS.

Tract 3: Easement Tract; 20-Foot Non-Exclusive Roadway and Pedestrian Easement

A NON-EXCLUSIVE ROADWAY AND PEDESTRIAN EASEMENT OVER AND ACROSS A
TRACT OF LAND SOUTHERLY OF AND 20.00 FEET WIDE ALONG THE ENTIRE
SOUTHERN BOUNDARY LINE OF TRACT I, SAID EASEMENT CREATED AND
GRANTED ON FEBRUARY 16, 1979, FROM WEST LOOP HOTEL, LIMITED TO FIN
PROPERTIES, LIMITED PILED IN HCCF NO. 0041310, BEING THE SAME PROPERTY
EASEMENT CONVEYED TO PCCP FULLER 2425 WEST LOOP, LLC BY SPECIAL
WARRANTY DEED WITH VENDOR'S LIEN RECORDED UNDER HARRIS COUNTY
CLERK’S FILE NO. 20100450007, AND BEING MORE PARTICULARLY DESCRIBED BY
METES AND BOUNDS AS FOLLOWS:

COMMENCING AT A POINT IN THE NORTHERLY RIGHT OF WAY LINE OF
WESTHEIMER ROAD (ROW VARIES), BEING THE SOUTHEAST CORNER OF A 2.3468
ACRE PARCEL CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE COMPANY TO
RED LION HOTELS, INC. IN A DEED RECORDED IN HCCF NO. S056346 AND THE
SOUTHWEST CORNER OF A 3.4385 ACRE PARCEL CONVEYED RY HARVEY R HOUCK,
JR., TO RESTPROP, LTD IN A DEED RECORDED IN HCCF NO. R228886;

THENCE, NORTHERLY NORTH 02 DEGREES 23 MINUTES 52 SECONDS WEST, 184.61
FEET ALONG THE COMMON LINE OF THE AFORESAID 2.3468 ACRE PARCEL TO THE
WEST AND 3.4385 ACRE PARCEL TO THE EAST TO THE POINT OF BEGINNING,
WHENCE THE SOUTHEAST CORNER OF TRACT I BEARS NORTH 02 DEGREES 23
MINUTES 52 SECONDS WEST, 20.02 FEET;

THENCE, WESTERLY 20.00 FEET SOUTHERLY FROM AND PARALLEL TO THE
SOUTHERLY LINE OF TRACT I, SOUTH 87 DEGREES 44 MINUTES 46 SECONDS WEST,
469.23 FEET TO A POINT IN THE EASTERLY LINE OF INTERSTATE 610 WEST LOOP;

THENCE, NORTHERLY NORTH 10 DEGREES 55 MINUTES 17 SECONDS EAST, 20.54
FEET ALONG THE EASTERLY LINE OF INTERSTATE 610 WEST LOOP TO THE
SOUTHWEST CORNER FOR TRACT I FROM WHICH A FOUND RAILROAD SPIKE
BEARS SOUTH 21 DEGREES 43 MINUTES EAST, 2.42 FEET;

THENCE, EAST ERLY NORTH 87 DEGREE S 44 MINUTES 46 SECONDS EAST, 464.50
FEET ALONG THE SOUTHERLY LINE OF TRACT I TO A l/2 INCH IRON ROD FOUND AT
THE SOUTHEAST CORNER OF TRACT 1;

THENCE, SOUTHERLY SOUTH 02 DEGREES 23 MINUTES 52 SECONDS EAST, 20.02
FEET ALONG THE A COMMON LINE BETWEEN A PREVIOUSLY DESCRIBED 2.3468
ACRES PARCEL TO THE WEST AND A 3.4385 ACRE PARCEL TO THE EAST TO THE
POINT OF BEGINNING AND CONTAINING 0.2144 ACRES OR 9,337 SQUARE FEET OF
LAND, MORE OR LESS.


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Tract 4: Easement Tract; 28-Foot Roadway and Pedestrian Easement

A NON-EXCLUSIVE ROADWAY AND PEDESTRIAN EASEMENT ACROSS EASTERLY 28
FEET OF A 2.3468 ACRE TRACT ADJACENT TO AND SOUTHERLY OF TRACT 1.
CREATED AND GRANTED IN THAT CERTAIN ROAD AND PEDESTRIAN EASEMENT
DATED FEBRUARY 16, 1979 FROM WEST LOOP HOTEL, LIMITED TO FIN PROPERTIES,
LIMITED, FILED IN HCCF NO. G041313, BEING THE SAME PROPERTY EASEMENT
CONVEYED TO PCCP FULLER 2425 WEST LOOP, LLC BY SPECIAL WARRANTY DEED
WITH VENDOR’S LIEN RECORDED UNDER HARRIS COUNTY CLERK’S FILE NO.
20100450007, AND BEING MORE PARTICULARLY DESCRIBED BY METES AND
ROUNDS AS FOLLOWS:

BEGINNING AT A FOUND 5/8 INCH IRON ROD IN Tl-IE NORTHERLY RIGHT OF WAY
LINE OF WESTHEIMER ROAD (ROW VARIES), BEING THE SOUTHEAST CORNER OF A
2.3468 ACRE PARCEL CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE
COMPANY TO RED LION HOTELS, INC. IN A DEED RECORDED IN HCCF NO. S056346
AND THE SOUTHWEST CORNER OF A 3.4385 ACRE PARCEL CONVEYED BY HARVEY
R. HOUCK, JR., TO RESTPROP, LTD IN A DEED RECORDED IN HCCF NO. R228886;

THENCE, WESTERLY SOUTH 86 DEGREES 46 MINUTES 52 SECONDS WEST, 28.00 FEET
ALONG THE NORTHERLY LINE OF WESTHEIMER ROAD TO A POINT;

THENCE, NORTHERLY 28.00 FEET WESTERLY OF AND PARALLEL TO THE EASTERLY
LINE OF SAID 2.3468 ARE TRACT NORTH 02 DEGREES 23 MINUTES 52 SECONDS
WEST, 205.08 FEET TO A POINT ON THE SOUTHERLY LINE OF TRACT 1;

THENCE, EASTERLY NORTH 87 DEGREES 44 MINUTES 46 SECONDS EAST, 28.00 FEET
ALONG THE SOUTHERLY LINE OF TRACT I TO A 1/2 INCH IRON ROD FOUND IN THE
WESTERLY LINE OF A 3.4385 ACRE PARCEL OF LAND PRESENTLY OWNED BY
RESTPROP, LTD AS RECORDED IN THE HCCF NO. R228886;

THENCE, SOUTHERLY SOUTH 02 DEGREES 23 MINUTES 52 SECONDS EAST, 204.61
FEET ALONG A COMMON LINE OF THE ABOVE INDICATED 3.4385 ACRE PARCEL TO
THE EAST SAID THE PREVIOUSLY DESCRIBED 2.3468 ACRE PARCEL TO THE WEST,
TO THE POINT OF BEGINNING, CONTAINING 0.1317 ACRES OR 5,735 SQUARE FEET
(CALLED 5,740) OF LAND MORE OR LESS.

Tract 5: Easement Tract; 5-Foot Storm Sewer Easement

A 1,025 SQUARE FOOT TRACT OF LAND, BEING THAT SAME TRACT UN PROPERTIES,
LIMITED, RECORDED IN HCCF NUMBER G041311, LOCATED IN THE WILLIAM WHITE
SURVEY, ABSTRACT NUMBER 836, CITY OF HOUSTON, HARRIS COUNTY, TEXAS,
BEING THE SAME EASEMENT CONVEYED TO PCCP FULLER 2425 WEST LOOP, LLC
BY SPECIAL WARRANTY DEED WITH VENDOR’S LIEN RECORDED UNDER HARRIS
COUNTY CLERK'S FILE NO. 20100450007, AND BEING MORE PARTICULARLY
DESCRIBED BY METES AND BOUNDS AS FOLLOWS:



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COMMENCING AT A POINT IN THE NORTHERLY RIGHT OF WAY (ROW) OF
WESTHEIMER ROAD (ROW VARIES), BEING THE SOUTHEAST CORNER OF A 2.3468
ACRE PARCEL CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE COMPANY TO
RED LION HOTELS, INC. IN A DEED RECORDED IN HCCF NO. 5056346 AND THE
SOUTHWEST CORNER OF A 3.4385 ACRE PARCEL CONVEYED BY HARVEY R. HOUCK,
JR. TO RESTPROP, LTD IN A DEED RECORDED IN HCCF NO. R228886;

THENCE ALONG THE NORTHERLY RIGHT OF WAY LINE OF WESTHEIMER ROAD,
SOUTH 86 DEGREES 46 MINUTES 52 SECONDS WEST, A DISTANCE OF 16.00 FEET TO
THE SOUTHEAST CORNER OF SAID EASEMENT AND THE HEREIN DESCRIBED
TRACT;

THENCE CONTINUING ALONG THE NORTHERLY LINE OF WESTHEIMER ROAD,
SOUTH 86 DEGREES 46 MINUTES 52 SECONDS WEST A DISTANCE OF 5.00 FEET, THE
SOUTHWEST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE DEPARTING SAID WESTHEIMER ROAD, NORTH 02 DEGREES 23 MINUTES 52
SECONDS WEST, A DISTANCE OF 204.96 FEET, TO A POINT IN THE SOUTHERLY LINE
OF A 2.4462 ACRE TRACT CONVEYED BY DEED TO HE 2425 WEST LOOP, LP
RECORDED UNDER HARRIS COUNTY CLERK'S FILE NO. 20070732472;

THENCE ALONG THE SOUTHERLY LINE OF SAID 2.4462 ACRE TRACT, NORTH 87
DEGREES 44 MINUTES 46 SECONDS EAST A DISTANCE OF 5.00 FEET TO THE
NORTHEAST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE DEPARTING THE SOUTHERLY LINE OF SAID 2.4462 ACRE TRACT, SOUTH 02
DEGREES 23 MINUTES 52 SECONDS EAST, A DISTANCE OF 204.88 FEET TO THE POINT
OF BEGINNING AND CONTAINING 1,025 SQUARE FEET OF LAND, MORE OR LESS.




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                                             EXHIBIT B

                                          FORM OF DEED

AFTER RECORDING RETURN TO:

_______________________
_______________________
_______________________

     NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON,
YOU MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION
FROM ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY
BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL
SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.


                                   SPECIAL WARRANTY DEED


STATE OF TEXAS                 §
                               §               KNOW ALL MEN BY THESE PRESENTS:
COUNTY OF TRAVIS               §

        That GALLERIA 2425 OWNER, LLC, a Delaware corporation (“Grantor”), by and
through Christopher R. Murray, the chapter 11 trustee appointed in Case No. 23-34815-JPN in the
U.S. Bankruptcy Court for the Southern District of Texas, Houston Division, for and in
consideration of the sum of TEN AND NO/100 DOLLARS ($10.00) and other good and valuable
consideration to it paid by NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK BRANCH
(“Grantee”), the receipt and sufficiency of which are hereby acknowledged and confessed by
Grantor, has GRANTED, BARGAINED, SOLD and CONVEYED, and by these presents does
hereby GRANT, BARGAIN, SELL and CONVEY unto Grantee the tracts of land lying and being
situated in Harris County, Texas, as more particularly described on Exhibit “1” attached hereto
and incorporated herein for all purposes (the “Land”), together with (a) all buildings, structures,
fixtures and improvements situated on, in or under the Land (the “Improvements”), and (b) all of
Grantor’s right, title and interest in and to the appurtenances pertaining to the Land (hereinafter
collectively referred to as the “Appurtenant Property”), including, but not limited to, all right, title
and interest of Grantor in and to adjacent roads, rights-of-way, alleys, drainage facilities,
easements and utility facilities and strips and gores between the described Land and abutting
properties, if any. The Land, Improvements, and Appurtenant Property are sometimes hereinafter
referred to as the “Property”.

        This conveyance is made and accepted free and clear of all liens, claims, encumbrances,
and interests pursuant to that certain “Sale Order” dated __________, 2024, and entered as Docket
No. ________ in Case No. 23-34815-JPN in the U.S. Bankruptcy Court for the Southern District
of Texas, Houston Division, and is subject to the exceptions set forth on Exhibit “2”, attached
hereto and made a part hereof for all purposes (the “Permitted Exceptions”).
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        TO HAVE AND TO HOLD THE PROPERTY, together with all and singular the rights
and appurtenances belonging in any way to the Property, subject to the provisions stated herein, to
Grantee, Grantee’s successors and assigns forever, and Grantor binds itself and its legal
representatives and successors TO WARRANT AND FOREVER DEFEND all and singular the
Property to Grantee and Grantee’s successors and assigns against every person lawfully claiming
or to claim all or any part of the Property by, through, or under Grantor, but not otherwise.

      AS A MATERIAL PART OF THE CONSIDERATION FOR THIS DEED,
GRANTEE ACKNOWLEDGES AND AGREES THAT: (i) GRANTEE HAS
CONDUCTED ITS OWN INDEPENDENT INVESTIGATION AND INSPECTION OF
ALL ASPECTS OF THE PROPERTY, (ii) OTHER THAN AS EXPRESSLY SET OUT
HEREIN OR IN THAT CERTAIN ASSET PURCHASE AGREEMENT DATED
___________ _____, 2024, BY AND BETWEEN GRANTOR AND GRANTEE
(“PURCHASE AGREEMENT”), GRANTEE IS NOT RELYING ON ANY
REPRESENTATIONS OR STATEMENTS OF GRANTOR OR ITS AGENTS, (iii)
GRANTEE IS RELYING ON SUCH INDEPENDENT INVESTIGATION AND
INSPECTION AND IS NOT RELYING ON ANY INFORMATION PROVIDED BY
GRANTOR, GRANTOR’S ENGINEERS, OR THE BROKERS IN DETERMINING
WHETHER TO PURCHASE THE PROPERTY, (iv) CERTAIN INFORMATION
PROVIDED BY GRANTOR TO GRANTEE WITH RESPECT TO THE PROPERTY HAS
BEEN OBTAINED FROM A VARIETY OF SOURCES AND THAT GRANTOR HAS NOT
MADE ANY INDEPENDENT INVESTIGATION OR VERIFICATION OF SUCH
INFORMATION, (v) GRANTEE IS FULLY AND COMPLETELY SATISFIED THAT
THE PROPERTY IS SATISFACTORY IN ALL RESPECTS FOR GRANTEE’S
INTENDED USE AND (vi) GRANTEE HAS NO RECOURSE WHATSOEVER AGAINST
GRANTOR OR THE BROKER IN CONNECTION WITH THE PROPERTY OTHER
THAN FOR ANY VIOLATIONS AS TO THE WARRANTIES AND COVENANTS OF
GRANTOR CONTAINED HEREIN OR IN THE PURCHASE AGREEMENT.

      AS A MATERIAL PART OF THE CONSIDERATION FOR THIS DEED,
GRANTEE ACKNOWLEDGES AND AGREES THAT: (i) EXCEPT FOR THE SPECIAL
WARRANTY SET OUT HEREIN OR THE EXPRESS REPRESENTATIONS SET OUT
IN THE PURCHASE AGREEMENT, GRANTOR HAS NOT MADE, DOES NOT MAKE,
AND SPECIFICALLY DISCLAIMS ANY AND ALL REPRESENTATIONS,
WARRANTIES, PROMISES, COVENANTS, AGREEMENTS, OR GUARANTIES OF
ANY KIND OR CHARACTER WHATSOEVER, WHETHER EXPRESS OR IMPLIED,
ORAL OR WRITTEN, PAST, PRESENT, OR FUTURE, OF, AS TO, CONCERNING OR
WITH RESPECT TO THE PROPERTY, INCLUDING BUT NOT LIMITED TO: (A) THE
NATURE, QUALITY, OR CONDITION OF THE PROPERTY, (B) THE INCOME TO BE
DERIVED FROM THE PROPERTY; (C) THE SUITABILITY OF THE PROPERTY FOR
ANY AND ALL ACTIVITIES AND USES WHICH GRANTEE MAY CONDUCT
THEREON IN THE FUTURE; (D) THE COMPLIANCE OF OR BY THE PROPERTY OR
ITS OPERATION WITH ANY LAWS, RULES, ORDINANCES OR REGULATIONS OF
ANY APPLICABLE GOVERNMENTAL AUTHORITY OR BODY, INCLUDING, BUT
NOT LIMITED TO, ANY STATE OR FEDERAL ENVIRONMENTAL LAW, RULE OR
REGULATION; (E)THE HABITABILITY, MERCHANTABILITY, OR FITNESS OF
THE PROPERTY FOR A PARTICULAR PURPOSE; OR (F) ANY OTHER MATTER

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WITH RESPECT TO THE PROPERTY (COLLECTIVELY, THE “DISCLAIMED
MATTERS”). GRANTEE HEREBY WAIVES ANY SUCH OTHER REPRESENTATION,
WARRANTY, PROMISES, COVENANTS, AGREEMENTS, OR GUARANTIES.

    AS A MATERIAL PART OF THE CONSIDERATION FOR THIS DEED,
GRANTEE ACKNOWLEDGES AND AGREES THAT EXCEPT FOR THE SPECIAL
WARRANTY CONTAINED HEREIN OR AS EXPRESSLY SET OUT IN THE
PURCHASE AGREEMENT, GRANTOR IS CONVEYING THE PROPERTY TO
GRANTEE “AS IS”, “WHERE IS”, AND WITH ALL FAULTS AND SPECIFICALLY
AND EXPRESSLY WITHOUT ANY WARRANTIES, REPRESENTATIONS, OR
GUARANTEES, EITHER EXPRESS OR IMPLIED, OF ANY KIND, NATURE, OR TYPE
WHATSOEVER FROM OR ON BEHALF OF THE GRANTOR.

     WITHOUT IN ANY WAY LIMITING ANY PROVISION OF THE FOREGOING,
GRANTEE SPECIFICALLY ACKNOWLEDGES AND AGREES THAT IT HEREBY
WAIVES, RELEASES AND DISCHARGES ANY CLAIM IT HAS, MIGHT HAVE HAD
OR MAY HAVE AGAINST GRANTOR AND GRANTOR’S PARTNERS, OFFICERS
AND AGENTS WITH RESPECT TO (i) THE DISCLAIMED MATTERS, (ii) THE
CONDITION OF THE PROPERTY, EITHER PATENT OR LATENT, (iii) THE PAST,
PRESENT OR FUTURE CONDITION OR COMPLIANCE OF THE PROPERTY WITH
REGARD TO ANY ENVIRONMENTAL PROTECTION, POLLUTION CONTROL OR
LAND USE LAWS, RULES, REGULATIONS, ORDERS OR REQUIREMENTS,
INCLUDING, WITHOUT LIMITATION, THE COMPREHENSIVE ENVIRONMENTAL
RESPONSE, COMPENSATION AND LIABILITY ACT OF 1980 (HEREIN CALLED
“CERCLA”), AND (iv) ANY OTHER STATE OF FACTS THAT EXISTS WITH
RESPECT TO THE PROPERTY; PROVIDED, HOWEVER, THE FOREGOING
WAIVER, RELEASE AND DISCHARGE DOES NOT WAIVE, RELEASE, OR
DISCHARGE ANY CLAIM GRANTEE MAY HAVE AGAINST GRANTOR UNDER THE
SPECIAL WARRANTY SET FORTH IN THIS DEED OR FOR BREACH OF THE
EXPRESS REPRESENTATIONS (DURING THE PERIOD FOR WHICH SUCH
EXPRESS REPRESENTATIONS SURVIVE) SET FORTH IN THE PURCHASE
AGREEMENT.

       Current ad valorem taxes, assessments and fees relating to or pertaining to the Property,
having been prorated to the date hereof, the payment thereof is hereby assumed by Grantee.

       The mailing address of Grantee is set forth below:

       ______________________________
       ______________________________


                          [Signatures Appear on the Following Page]




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  IN WITNESS WHEREOF, Grantor has caused this Deed to be executed on this _____ day of
_____________, 2024.

                                        GRANTOR:

                                        GALLERIA 2425 OWNER, LLC,
                                        a Delaware corporation


                                        By:     ______________________________
                                                Christopher R. Murray
                                                Chapter 11 Trustee



STATE OF TEXAS            §
                          §
COUNTY OF TRAVIS          §

  The foregoing was acknowledged before me on the ______ day of ________________, 20__,
by CHRISTOPHER R. MURRAY, Chapter 11 Trustee of Galleria 2425 Owner, LLC, in such
capacity.


                                 _______________________________________
                                 Notary Public, State of Texas




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                                EXHIBIT
                                EXHIBIT “1”
                                        “1”

                           LEGAL
                           LEGAL DESCRIPTION
                                 DESCRIPTION


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                                EXHIBIT
                                EXHIBIT “2”
                                        “2”

                         PERMITTED
                         PERMITTED EXCEPTIONS
                                   EXCEPTIONS



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                                            EXHIBIT C

     SELLER’S FIRPTA AFFIDAVIT - CERTIFICATION OF NON-FOREIGN STATUS

        Section 1445 of the Internal Revenue Code provides that a transferee of a U.S. real property
interest must withhold tax if the transferor is a foreign person. To inform the transferee that
withholding of tax is not required upon the disposition of a U.S. real property interest by
Christopher R. Murray in his capacity as the duly appointed Chapter 11 Trustee of Galleria 2425
Owner, LLC (“Transferor”), the undersigned hereby certifies the following on behalf of
Transferor:

1.      Transferor is not a foreign corporation, foreign partnership, foreign trust and foreign estate
(as those terms are defined in the Internal Revenue Code and Income Tax Regulations);

2.     Transferor’s U.S. employer identification number (EIN) is [●]; and

3.     Transferor’s office address is:

               [●]
               [●]
               [●]

       Transferor understands that this certification may be disclosed to the Internal Revenue
Service by transferee and that any false statement contained herein could be punished by fine,
imprisonment or both.

        Under penalties of perjury I declare that I have examined this certification and to the best
of my knowledge and belief it is true, correct and complete, and I further declare that I have
authority to sign the document on behalf of the Transferor.

                                               Christopher R. Murray, in his capacity as the
                                               Chapter 11 Trustee of Galleria 2425 Owner, LLC

                                               By:
                                               Name: Christopher R. Murray
                                               Title: Chapter 11 Trustee




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                                           EXHIBIT D

                                        BILL OF SALE

        For good and valuable consideration, the receipt of which is hereby acknowledged,
Christopher R. Murray in his capacity as the duly appointed Chapter 11 Trustee of Galleria 2425
Owner, LLC, a Delaware limited liability company (“Seller”), does hereby sell, transfer, and
convey to National Bank of Kuwait, S.A.K.P., New York Branch (“Buyer”): all personal property
of Seller, if any, located on and used in connection with the operation of the improvements on the
real property located at 2425 West Loop South, Houston, Texas 77027, as more particularly
described on Exhibit A attached hereto.

       Buyer accepts such personal property in its “AS-IS,” “WHERE-IS” condition and “WITH
ALL FAULTS”. Seller specifically disclaims all express or implied warranties regarding the
existence or condition of, or title to, such personal property, including without limitation the
implied warranties of merchantability and suitability for a particular purpose.

       Date: __________________, 2024

 SELLER                                           BUYER

 Christopher R. Murray as the Chapter 11          National Bank of Kuwait, S.A.K.P., New
 Trustee of Galleria 2425 Owner, LLC              York Branch

 By:                                              By:
 Name: Christopher Murray                         Name: Michael C. Carter
 Title: Chapter 11 Trustee                        Title: Vice President




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                       EXHIBIT
                       EXHIBIT A
                               A TO
                                 TO BILL
                                    BILL OF
                                         OF SALE
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                             IMPROVEMENTS
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                                          EXHIBIT E

                             ASSIGNMENT AND ASSUMPTION

        FOR VALUABLE CONSIDERATION, receipt of which is hereby acknowledged,
Christopher R. Murray in his capacity as the duly appointed Chapter 11 Trustee of Galleria 2425
Owner, LLC, a Delaware limited liability company (herein referred to as “Assignor”), hereby
assigns, transfers and conveys to National Bank of Kuwait, S.A.K.P., New York Branch (herein
referred to as “Assignee”), all leases (the “Leases”) described on Schedule 1 attached and all
contracts (the “Contracts”) described on Schedule 2 attached affecting that certain real property
in the City of Houston, Harris County, State of Texas (the “Property”), commonly known as 2425
West Loop South, Houston, Texas 77027 and more particularly described in Exhibit A attached
hereto.

         Assignee hereby assumes and agrees to keep, perform and fulfill all of Assignor’s
obligations under the Leases and under the Contracts which are required to be kept, performed and
fulfilled by Assignor thereunder, effective from and after the date on which a deed of the Property
from Assignor to Assignee is delivered (the “Closing Date”).

        The covenants and warranties contained herein shall survive the closing of the purchase
and sale of the Property to which this Assignment relates, and such covenants and warranties shall
not be deemed merged in the deed delivered by Assignor to Assignee.

        This Assignment shall be binding on and inure to the benefit of the parties hereto, their
heirs, executors, administrators, successors in interest and assigns.

      IN WITNESS WHEREOF, the undersigned have executed the within instrument as of
___________________________, 2024.

                                             ASSIGNOR:

                                             Christopher R. Murray as the Chapter 11 Trustee of
                                             Galleria 2425 Owner, LLC,


                                             By:
                                             Name: Christopher R. Murray
                                             Title: Chpater 11 Trustee

                                             ASSIGNEE:

                                             National Bank of Kuwait, S.A.K.P., New York
                                             Branch,


                                             By:
                                             Name: Michael C. Carter
                                             Its:  Vice President
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              EXHIBIT
              EXHIBIT A
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                        TO ASSIGNMENT
                           ASSIGNMENT AND
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            SCHEDULE
            SCHEDULE 11| TO
                         TO ASSIGNMENT
                            ASSIGNMENT AND
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                                   Leases
                                   Leases




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            SCHEDULE
            SCHEDULE 2
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                              Service
                              Service Contracts
                                      Contracts




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            SCHEDULE
            SCHEDULE 3
                     3 TO
                       TO ASSIGNMENT
                          ASSIGNMENT AND
                                     AND ASSUMPTION
                                         ASSUMPTION

                                   Permits
                                   Permits




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                                EXHIBIT
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                          ASSIGNED
                          ASSIGNED CONTRACTS
                                   CONTRACTS



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